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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                            :
 UNITED STATES OF AMERICA                   :    CRIMINAL NO: 21-CR-
                                            :
        v.                                  :    MAGISTRATE NO. 21-MJ-143
                                            :
 NOLAN B. COOKE,                            :    VIOLATIONS:
                                            :    18 U.S.C. § 231(a)(3)
             Defendant.                     :    (Civil Disorder)
                                            :


                                      INFORMATION

       The United States Attorney charges:
                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, NOLAN B. COOKE,

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder which in any way and degree obstructed, delayed,

and adversely affected commerce and the movement of any article and commodity in commerce

and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))


Attorney of the United States
in and for the District of Columbia
